Case 1:20-cv-20172-JEM Document 310-1 Entered on FLSD Docket 04/05/2024 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION

                                 CASE NO. 20-20172-CIV-MARTINEZ

   777 PARTNERS LLC and
   INSURETY CAPITAL LLC,

                Plaintiffs,

   v.

   CHRISTOPHER JAMES PAGNANELLI,

              Defendant.
   ________________________________________/

    [PROPOSED] ORDER ON DEFENDANT’S EXPEDITED MOTION TO RECONSIDER
    AND VACATE ORDER DENYING MOTION TO AMEND THE COURT’S FINDINGS
          AND JUDGMENT, OR IN THE ALTERNATIVE, FOR A NEW TRIAL

          THIS CAUSE came before the Court upon Defendant Christopher James Pagnanelli’s

   Expedited Motion to Reconsider and Vacate Order Denying Motion to Amend the Court’s

   Findings and Judgment, or in the Alternative, for a New Trial, [ECF No. __] (“Motion”), filed on

   April 5, 2024. The Court has considered the Motion, the pertinent portions of the record, the

   applicable law, and is otherwise duly advised in the premises.

          Upon review of the Motion, the Court agrees that Defendant’s Motion to Amend, [ECF

   No. 297], was timely filed, and the Motion, [ECF No. __], is therefore GRANTED, as follows:

          1. The Order Denying Motion to Alter Judgment or in the Alternative for New Trial, [ECF

              No. 309], is VACATED nunc pro tunc, and Defendant’s Motion to Amend, [ECF No.

              297], is reinstated as of the date of this Order;

          2. The Court will consider the merits of the Motion to Amend in normal course on a non-

              expedited basis.
Case 1:20-cv-20172-JEM Document 310-1 Entered on FLSD Docket 04/05/2024 Page 2 of 2




          DONE AND ORDER in Chambers at Miami, Florida, this ___ day of April, 2024.



                                                       _______________________________
                                                       JOSE E. MARTINEZ
                                                       UNITED STATES DISTRICT JUDGE
   Copies provided to:
   All counsel of record
